Case 2:23-cv-00936-AMA-CMR           Document 82-1       Filed 07/22/24    PageID.759       Page 1
                                            of 3



   Justin T. Toth (8438)
   Maria E. Windham (10761)
   Nathan L. Jepson (17141)
   RAY QUINNEY & NEBEKER P.C.
   36 South State Street, Suite 1400
   P.O. Box 45385
   Salt Lake City, Utah 84145-0385
   Telephone: (801) 532-1500
   Facsimile: (801) 532-7543
   Email: jtoth@rqn.com
          mwindham@rqn.com
          njepson@rqn.com

   Attorneys for Defendant Spencer Taylor


                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


   KATE GRANT, and KARMANN KASTEN,
   LLC                                               ORDER GRANTING DEFENDANT
                                                    SPENCER TAYLOR’S SHORT FORM
            Plaintiffs,                               DISCOVERY MOTION TO STAY
   v.                                                        DEPOSITION

   KEVIN LONG; MILLCREEK                                  Case No. 2:23-CV-00936-DAO
   COMMERCIAL PROPERTIES, LLC;
   COLLIERS INTERNATIONAL; BRENT                            District Judge David Barlow
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,                            Magistrate Judge Daphne A. Oberg

            Defendants.


           The Court, having considered Defendant Spencer Taylor’s Short Form Discovery Motion

  to Stay Deposition (the “Motion”) and otherwise being fully advised in the matter, hereby finds

  that good cause exists for the Motion and ORDERS as follows:

        1. The Motion is GRANTED.

        2. The deposition of Spencer Taylor is STAYED.
Case 2:23-cv-00936-AMA-CMR         Document 82-1        Filed 07/22/24      PageID.760      Page 2
                                          of 3



    3. The deposition of Spencer Taylor may be scheduled after the motion to consolidate is

       resolved, which motion is currently pending in Patti Klair v. Kevin Long, et. al., Case No.

       2:23-cv-407.

       IT IS SO ORDERED.

       DATED this _______ day of July 2024

                                     BY THE COURT:



                                     Magistrate Judge Daphne A Oberg
Case 2:23-cv-00936-AMA-CMR           Document 82-1       Filed 07/22/24     PageID.761     Page 3
                                            of 3



                                 CERTIFICATE OF SERVICE

         I hereby certify on this 22nd day of July 2024, I caused a true and correct copy of the

  foregoing ORDER GRANTING DEFENDANT SPENCER TAYLOR’S SHORT FORM

  DISCOVERY MOTION TO STAY DEPOSITION to be filed via the Court’s electronic filing

  system, which automatically provides notice to counsel of record.


                                                     /s/ TerriAnne Gillis
